Case 1:25-cv-00698   Document 2-9   Filed 03/10/25   Page 1 of 13




                     EXHIBIT 7
           Case 1:25-cv-00698             Document 2-9            Filed 03/10/25       Page 2 of 13


1099 NEW YORK AVENUE, NW SUITE 900 WASHINGTON, DC 20001-4412




                                                                                 Adam G. Unikowsky
March 4, 2025                                                                    Tel +1 202 639 6041
                                                                                 Fax +1 202 661 4925
                                                                                 AUnikowsky@jenner.com
Lee M. Zeldin
Travis Voyles
Julie Zavala
Aileen Nowlan
Karina Baker
U.S. Environmental Protection Agency
Mail Code 1101A
1200 Pennsylvania Avenue, N.W.
Washington, DC 20460

Re:      Climate United Fund

Administrator Zeldin:

My firm represents Climate United Fund (“Climate United”). Climate United is one of the
recipients of a National Clean Investment Fund (“NCIF”) grant award through the Inflation
Reduction Act’s Greenhouse Gas Reduction Fund. See 42 U.S.C. § 7434. As of February 18,
2025, Climate United no longer has access to its grant funding. Although the EPA’s actions
have been opaque, it appears from your recent public statements and Citibank, N.A.’s
(“Citibank”) communications about why Climate United’s funds are frozen—combined with
Climate United’s inability to access its grant funds—that the EPA has effectuated a suspension
or termination of Climate United’s grant. I write to request immediate information regarding the
nature of and legal justifications for the EPA’s actions.

In addition, I request that you reinstate Climate United’s access to its NCIF funding immediately.
This includes a request to rescind or stay any suspension or termination of Climate United’s
grant, to direct Citibank to continue allowing Climate United access to its grant funds under the
Terms and Conditions of Climate United’s grant, and to take whatever additional actions are
needed to ensure that Climate United has access to the funds to which it is legally entitled.

My client is committed to achieving the EPA’s priorities of clean air and water for every
American, increasing domestic energy production, and bringing back American jobs. Its work
has always centered on how to effectively leverage private capital to support small businesses,
build strong and resilient local communities, save hard-working Americans money, and create
good jobs. Indeed, Climate United’s grant requires it to deploy 60% of its loans in low- and
moderate-income communities, 20% of its loans in rural communities and 10% of its loans in
tribal communities.



CENTURY CITY   CHICAGO   LONDON    LOS ANGELES    NEW YORK     SAN FRANCISCO   WASHINGTON, DC     JENNER.COM
         Case 1:25-cv-00698          Document 2-9        Filed 03/10/25       Page 3 of 13


March 4, 2025
Page 2




As elaborated in this letter, Climate United has attempted to reach out to introduce itself and its
work to explore common ground and a path forward but, as of this writing, has been unable to do
so. Direct communication would be the preferred path of my client and, I presume, the EPA, so
that this Congressionally appropriated lending program can meet its objectives with strong EPA
oversight and direct impact on American families and small businesses.

   I.      Background

In 2022, Congress passed and President Biden signed into law the Inflation Reduction Act. Pub.
L. No. 117-169. Section 134 of the Act amended the Clean Air Act to authorize the Greenhouse
Gas Reduction Fund. See 42 U.S.C. § 7434. Subsection 134(b) provides that an eligible
recipient shall use the grant funds to facilitate “qualified projects at the national, regional, State,
and local levels”; to “prioritize investment in qualified projects that would otherwise lack access
to financing”; to “retain, manage, recycle, and monetize all repayments and other revenue
received from fees, interest, repaid loans, and all other types of financial assistance provided
using grant funds under this section to ensure continued operability”; and to “provide funding
and technical assistance to establish new or support existing public, quasi-public, not-for-profit,
or nonprofit entities that provide financial assistance to qualified projects[.]” Id. § 7434(b).
Section 134(a)(2) appropriated $11.97 billion “to remain available until September 30, 2024, to
make grants, on a competitive basis … to eligible recipients for the purposes of providing
financial assistance and technical assistance in accordance with subsection (b),” while Section
134(a)(3) appropriated $8 billion “to remain available until September 30, 2024, to make grants,
on a competitive basis … to eligible recipients for the purposes of providing financial assistance
and technical assistance in low-income and disadvantaged communities in accordance with
subsection (b).” The statute created a new program built on bipartisan principles to leverage
public funds with private capital to catalyze investment flows into places and projects that
deliver savings for consumers and support local economic development – much like Small
Business Administration guarantees and Opportunity Zone incentives.

To carry out those statutory obligations, the EPA launched three grant competitions, including
the approximately $14 billion National Clean Investment Fund competition to award funding to
finance clean technology deployment nationally. The NCIF program was “funded with $11.97
billion from Section 134(a)(2) and $2.00 billion from Section 134(a)(3).” Frequent Questions
About the Fund, EPA, https://www.epa.gov/greenhouse-gas-reduction-fund/frequent-questions-
about-fund (last updated October 17, 2024). The EPA established a rigorous process to review
and select applications, including the establishment of review panels with broad and deep
qualifications who would then present rankings and recommendations to a Selection Official
authorized to make the final selection for awards.

At the conclusion of the agency’s lengthy and rigorous review process, which included an
evaluation of each applicant’s program plan, organizational capacity, previous experience
managing third-party capital, and experience managing financial, credit, compliance, and other


                                                   2
         Case 1:25-cv-00698         Document 2-9       Filed 03/10/25      Page 4 of 13


March 4, 2025
Page 3




risks, Climate United was the highest ranked of the NCIF applicants. On March 31, 2024,
Climate United and two other applicants were made aware of their selection for awards through
the NCIF. Climate United was ultimately awarded $6,970,000,000.

EPA has since alleged that because Climate United was required to attend standard EPA grants
training1 it lacked basic financial competency. This is false. All EPA grant recipients are required
complete certain trainings within 90 days of receipt of an EPA grant – regardless if such
trainings are relevant to the recipient2. Climate United was required to submit a detailed budget
to EPA in connection with the grant competition in October 2023 which was evaluated and
considered when selecting Climate United as a recipient. Additionally, a negotiated, thoroughly
reviewed and approved budget was a required attachment to Climate United’s grant agreement.

Climate United’s grant funding was memorialized in a Notice of Award dated August 8, 2024,
and subsequent amendments. The Notice of Award and subsequent amendments also codified
the grant award’s Terms and Conditions. The operative Terms and Conditions are those attached
to the December 20, 2024 Notice of Award, which then remained the same in the most recent
Notice of Award dated January 16, 2025. See Exs. 1, 2. Among other things, those Terms and
Conditions set forth the specific requirements with which the EPA must comply to suspend or
terminate Climate United’s award. Ex. 1 at 41. They do not allow the EPA to unilaterally
suspend the grant or remove Climate United’s ability to access funding.

To administer the grant funds pursuant to the Terms and Conditions, Climate United and the
EPA entered into an Account Control Agreement (“ACA”) with Citibank. Ex. 3. Climate
United was required to enter into this agreement based on the terms of its grant agreement and
had no role in the design, identification, or determination of this arrangement.

The ACA provides that Citibank’s role with respect to the award is exclusively “administrative
or ministerial.” Id. at 3. Under the ACA, the EPA has a mechanism to assert a “right of control”
over disbursed funding by exercising exclusive control over the account in a form substantially

1
  One of the modules in the mandatory trainings helps to clarify another point of confusion by
EPA (Module 4 “Accepting a Grant Award” (https://www3.epa.gov/grants-
training/epa_grants_management_training_for_applicants_and_recipients_mod_4/story.html)
– that grantees are required to distribute all the total award amount within 21 days. Grantees are
required to accept an EPA grant by either drawing down any amount of EPA funds or not objecting
to the grant agreement within 21 days. This is a standard provision in all EPA grants. All draws
taken by Climate United under its grant must be in accordance with the EPA approved budget and
the Terms and Conditions of the grant agreement.
2
  Two training series are required: “EPA Grants Management Training for Applicants and
Recipients” and “How to Develop a Budget”. The former includes modules on how to apply for
a grant and how to accept a grant, both of which are clearly not relevant for a recipient who has
already undergone an application, review and award.


                                                 3
          Case 1:25-cv-00698        Document 2-9       Filed 03/10/25      Page 5 of 13


March 4, 2025
Page 4




similar to a sample notice contained in the ACA, stating that, “[a]s required by the Grant
Agreement, the Secured Party [i.e., the EPA] has issued a written determination and finding that
Pledgor [i.e., Climate United] has failed to comply with the terms and conditions of the Grant
Agreement, and that noncompliance is substantial such that effective performance of the Grant
Agreement is materially impaired or there is adequate evidence of waste, fraud, material
misrepresentation of eligibility status, or abuse.” Id. at 9 (Exhibit A). In turn, the ACA provides
that Citibank has been designated to act as a financial agent of the United States pursuant to the
authority of the U.S. Department of the Treasury. Id. at 1.

The financial agent arrangement (the FAA) with Citibank and the ACA were designed to provide
EPA with full transparency into how grant funds are being spent. The EPA has real time view
access into all accounts of both Climate United and any of its subrecipients. The alternative
mechanism used to disburse funds under EPA grants is the Automated Standard Application for
Payments (ASAP) system. Climate United understands that ASAP provides only a running total
of grant funds disbursed to a grant recipient and does not allow for transparency into activities of
its subrecipients. Therefore, the FAA increases EPA’s oversight of funds by requiring both
Climate United and its subrecipients to disclose expenditures by budget category in real time.
The FAA also provides EPA with full visibility into any program income generated by Climate
United which is typically opaque to EPA under the ASAP system. Finally, EPA is permitted to
request supporting documentation from Climate United or any subrecipient with respect to any
grant funds used – and indeed in November 2024, EPA conducted its first transactional review of
all of Climate United’s expenditures to date.

    II.    The EPA Has Precluded Climate United from Accessing Its Funds.

On February 12, 2025, you made a public statement on X announcing the EPA’s decision to take
possession of grant funds disbursed pursuant to the Inflation Reduction Act, referring to Climate
United by name.3 You provided no justification for this action specific to Climate United.4

Without mentioning any specific basis for adverse action under the terms of Climate United’s
award—or that of any other recipient—you stated “the financial agent agreement with the Bank
needs to be instantly terminated,” and you demanded that “the Bank must immediately return”
the grant funds.5 To ensure the EPA “reassume[s] responsibility for all of these funds,” you then
stated that you would “refer[] this matter to the Inspector General’s Office and will work with



3
    @EPALeeZeldin, X (Feb. 12, 2025, 7:52 PM), https://x.com/epaleezeldin/status/
1889840040622321778.
4
   Instead, you cite a video purportedly recording a former EPA employee making general
statements about grant disbursements, with no discussion of any specific award. See generally id.
5
  Id. at 2:15.


                                                 4
          Case 1:25-cv-00698       Document 2-9       Filed 03/10/25      Page 6 of 13


March 4, 2025
Page 5




the Justice Department.”6 Since then, you have stated in no uncertain terms that the EPA is “not
going to rest” until it has “recovered” those funds.7

Consistent with that directive, to our knowledge, the Office of the Deputy Attorney General
(“ODAG”) at the Department of Justice communicated with the United States Attorney’s Office
in Washington, D.C. (“USAO-DC”), seeking to open a grand jury investigation into Climate
United’s contract awarded by the EPA.8 Denise Cheung, the Chief of the Criminal Division at
USAO-DC, advised that there was not an adequate factual basis to open that grand jury
investigation.9 We understand that the Federal Bureau of Investigation’s Washington Field
Office subsequently issued a “Freeze Letter” to Citibank containing a recommendation that
Citibank freeze Climate United’s assets.10 Apparently unsatisfied, ODAG instructed that a
second letter be sent to Citibank demanding that Citibank implement an asset freeze and refrain
from releasing funds pursuant to a criminal investigation.11 In response, senior officials at the
DC-USAO again asserted there was not sufficient evidence to justify issuing that letter.12
Consistent with her oath of office, the Chief of the Criminal Division, Denise Cheung, refused to
send the letter and was forced to resign.13 Apparently without signoff from other prosecutors at
the DC-USAO, Interim U.S. Attorney Ed Martin submitted a seizure warrant application with a
magistrate judge, which was rejected.14 ODAG then reportedly sought a different U.S.
attorney’s office to carry out the warrant request, but that office likewise refused to do so.15




6
    Id.
7
         @RapidResponse47,           X        (Feb.       25,       2025,       10:16       AM),
https://x.com/RapidResponse47/status/1894406216052289869.
8
  Read the Resignation Letter by Denise Cheung, a Veteran D.C. Federal Prosecutor, Wash. Post
(Feb. 18, 2025), https://www.washingtonpost.com/dc-md-va/2025/02/18/read-resignation-letter-
denise-cheung/ [hereinafter Resignation Letter]; see also Kyle Cheney et al., Senior Prosecutor in
Washington Quits, Citing Pressure to Probe Biden-era Climate Funds, Politico (Feb. 18, 2025),
https://www.politico.com/news/2025/02/18/denise-cheung-us-attorneys-office-washington-
020363.
9
  Resignation Letter, supra note 5 (noting assessment that no “predicate for opening such a grand
jury investigation existed” on the face of the existing documents provided by ODAG).
10
   Id.
11
   Id.
12
   Id.
13
   Id.
14
   Spencer Hsu, Maxine Joselow & Nicolas Rivero, FBI investigating Trump EPA claims of fraud
in $20B Biden grant fund, Washington Post (Feb. 27, 2025), https://www.washingtonpost.com/dc-
md-va/2025/02/27/trump-fbi-epa-grant-investigation/.
15
   Id.


                                                5
         Case 1:25-cv-00698       Document 2-9        Filed 03/10/25      Page 7 of 13


March 4, 2025
Page 6




It appears that the EPA has in fact acted to prevent Citibank from disbursing funds from Climate
United’s account. In order to provide funding in response to requests from Climate United,
Citibank first sells funds from its money market account and then distributes those funds to
Climate United. In accordance with the ACA, this process happens either same-day or by close
of business the following day, depending on the time of the request. Climate United placed a
request to draw funds on Tuesday, February 18, 2025. In the normal course, Citibank would
have sold funds from the money market account the morning of February 18 and distributed the
funds to Climate United later that same day. Climate United would be able to see both
transactions reflected on its account with Citibank. Neither transaction occurred.

On February 19, 2025, at 9:43 am EST, Climate United submitted an email message to Citibank
noting that its funding requests remain pending and have not been disbursed. That letter
demanded that Citibank provide the legal bases for those actions, advise whether those actions
were taken pursuant to a directive by a government agency, and provide a reasonable opportunity
to respond to any instruction or request that impacts Climate United’s accounts before that
instruction or request may be acted upon by Citibank. Citibank did not respond. Then again, on
February 25, 2025, at 6:06 pm EST, counsel for Climate United submitted another email
message to Citibank demanding release of the funds within 24 hours or, in the alternative, to
provide the legal bases for its actions. And again still, on February 26, 2025, counsel left
voicemail messages for Citibank. Counsel subsequently followed up with a letter to Citibank on
March 1, 2025. On March 3, 2025 Citibank finally responded to Climate United deferring
decision making to EPA after Climate United emailed Citibank pointing out it had become aware
that Citibank was responding to other subgrantees. Citibank indicated that it had “received
[Climate United’s] correspondence and forwarded it to the United States Environmental
Protection Agency and other federal officials for an appropriate response” and was “awaiting
further guidance” from the EPA.

Citibank did not unilaterally decide to freeze funds on its own and stated in writing that it is
awaiting further guidance from EPA. Although the EPA’s actions have been shrouded in
secrecy, your own public statements show that the EPA is responsible for the freeze. You made
a public statement on X at 4:01pm EST on February 19, 2025, stating that you had “just read” a
“grant agreement” related to the GGRF, characterizing it as “wild.”16 You have repeatedly stated
that you have cancelled several grant agreements, apparently unilaterally, regarding climate and




16
          @EPALeeZeldin,           X      (Feb.      19,          2025,        4:01        PM),
https://x.com/epaleezeldin/status/1892318587961930086.


                                               6
         Case 1:25-cv-00698        Document 2-9       Filed 03/10/25      Page 8 of 13


March 4, 2025
Page 7




the environment.17 On February 23, you discussed the GGRF program on a national television
broadcast and stated, without basis, that “the entire scheme, in my opinion, is criminal.”18

Climate United has sought information on why its funds are being frozen and has been
stonewalled at every turn. On February 20, 2025, Climate United sent an email message to
officials at the EPA notifying the EPA that it was being denied access to its funds and to demand
additional information and guidance by 10am on February 21, 2025. The EPA team replied on
February 21, providing no additional information but offering to discuss the following week. At
the EPA’s request, Climate United cleared their schedule for a meeting with the EPA on Monday
afternoon, February 24. Rather than meet on Monday, the EPA then requested a meeting on
Tuesday. Climate United and the EPA agreed to meet on Tuesday, February 25 at 11 am. After
Climate United informed the EPA that outside counsel would be present, the EPA attempted to
reschedule the meeting for 5 pm that day, which Climate United confirmed. At 3:25 pm, Travis
Voyles at the EPA cancelled the meeting, and despite outreach from Climate United to Mr.
Voyles to reschedule, the meeting has not been rescheduled. After multiple emails to Mr. Voyles
went unanswered, Climate United subsequently telephoned Mr. Voyles’ administrative assistant
on February 27, who responded that Mr. Voyles was in possession of Climate United’s e-mails
and would reach out. As of the date of this letter, Climate United is still awaiting a response.

Exacerbating matters, the terms and conditions of Climate United’s grant require Climate United
to draw down funds not more than 14 business days in advance of need. The EPA’s delay in this
matter impacts Climate United’s ability to continue as a going concern. Further, to the extent the
EPA has caused Citibank to freeze Climate United’s funds, such an action impacts Climate
United’s rights to the grant funds. EPA has therefore taken action that affects Climate United’s
rights without any process whatsoever.




17
          @EPALeeZeldin,           X      (Feb.      22,        2025,        2:10       PM),
https://x.com/epaleezeldin/status/1893377875220332772.
18
         @SundayMorningFutures,         X     (Feb.     23,       2025,      11:21      AM),
https://x.com/SundayFutures/status/1893697750937505807; see also Zack Colman, Recipient
isn’t giving in as Trump’s EPA tries to revoke climate grants, Politico (Feb. 24, 2025),
https://www.politico.com/news/2025/02/24/climate-grant-recipient-spending-trumps-epa-tries-
claw-back-00205814 (collecting quotes).


                                                7
             Case 1:25-cv-00698       Document 2-9      Filed 03/10/25       Page 9 of 13


March 4, 2025
Page 8




     III.        A Suspension or Termination of Climate United’s Grant Would Be Unlawful.

Climate United has not been provided with any information about the mechanism by which the
EPA required Citibank to cease providing Climate United with access to its NCIF funding. It is
clear, however, that the EPA has unilaterally made the decision to cut off Climate United’s
access to its awarded NCIF funds. No other agency within the federal government has the
authority to terminate or suspend Climate United’s funding, and Citibank is not acting on its
own.

The EPA has thus either terminated Climate United’s NCIF grant, or at minimum suspended
Climate United’s grant funding. Either decision would be unlawful final agency action under the
Administrative Procedure Act (“APA”). The EPA should therefore reverse its decision to
suspend or terminate Climate United’s grant.

            A.      Suspension or Termination of the Grant Violates EPA Regulations.

The EPA is bound by its own regulations. Nat’l Envtl. Dev. Assocs. Clean Air Project v. EPA,
752 F.3d 999, 1009 (D.C. Cir. 2014); 5 U.S.C. § 706(2)(A). Those regulations do not allow the
EPA either to suspend funding under these circumstances or to terminate Climate United’s
grant.19

EPA’s suspension of the grant is unlawful. The EPA may withhold payment for allowable costs
during the period of performance only where required by Federal statute or regulations or where
(i) the recipient “has failed to comply with the terms and conditions of the Federal award”; or (ii)
the recipient is “delinquent in a debt to the United States.” 2 C.F.R. §
200.305(b)(6).20 Moreover, where funding is withheld on the grounds that a recipient failed to
comply with the terms and conditions of the award, the federal agency may “[t]emporarily
withhold payments” only where it “determines that noncompliance cannot be remedied by
imposing specific conditions.” 2 C.F.R. § 200.339. None of these criteria are met here, nor has
the EPA made any effort to establish that these criteria are met.

To the extent the EPA has terminated the grant, that action is also unlawful. Federal regulations
also set forth the criteria under which the EPA may terminate Climate United’s grant award.
These regulations dictate that any unilateral grant termination be authorized in the grant award’s
Terms and Conditions. The EPA must clearly and unambiguously specify all termination
provisions in the terms and conditions of the Federal award,” 2 C.F.R. § 200.340(b), and

19
   In addition, any efforts to terminate Climate United’s grant would violate the statute establishing
the grant fund, 42 U.S.C. § 7434, particularly when considered against the backdrop of the
Impoundment Control Act, 2 U.S.C. § 683.
20
   The EPA has adopted the Uniform Grant Guidance regulations codified at 2 C.F.R. 200 et seq.
See 85 Fed. Reg. 61,571 (Sept. 30, 2020).


                                                  8
         Case 1:25-cv-00698         Document 2-9         Filed 03/10/25      Page 10 of 13


March 4, 2025
Page 9




unilateral termination is not permissible unless it occurs “pursuant to the terms and conditions,”
id. § 200.340(a)(4), or because the grant recipient “fails to comply with the terms and
conditions,” id. § 200.340(a)(1). The Terms and Conditions governing Climate United’s grant
award expressly permit termination only in three circumstances: “when [1] the noncompliance
with the terms and conditions is substantial such that effective performance of the Assistance
Agreement is Materially Impaired or [2] there is adequate evidence of Waste, Fraud, or Abuse or
[3] material misrepresentation of eligibility status.” Ex. 1 at 41.21 Again, none of these criteria
are met here, and the EPA has not given any indication that it has found to the contrary.22

In addition, the EPA is obligated by regulation to take certain procedural steps to terminate the
Agreement. Among other things, the EPA must comply with 2 C.F.R. § 200.341, which requires
written notice of termination that includes “the reasons for termination, the effective date, and
the portion of the Federal award to be terminated, if applicable.” 2 C.F.R. § 200.341. The EPA
has of course provided no such notice. Instead, it unilaterally directed Citibank to prohibit
Climate United from accessing its grant funds.

        B.      Suspension or Termination of the Grant Is Arbitrary and Capricious.

The EPA’s action is also unlawful because EPA is required to give adequate reasons for its
actions under the APA, and may not behave arbitrarily and capriciously. See Motor Vehicle
Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 48 (1983); 5 U.S.C.
§ 706(2)(A). When, as here, an agency provides no contemporaneous “reasoned explanation”
for its decision to terminate a grant, the action is arbitrary and capricious. Kansas City v. HUD,
923 F.2d 188, 189, 194 (D.C. Cir. 1991).

The EPA’s broad announcement precipitating the actions at issue—that it would claw back
“every penny” because “the days of irresponsibly shoveling boatloads of cash to far-left activist
groups in the name of environmental justice and climate equity are over”23—is not a “reasoned
explanation.” The EPA has offered no evidence that Climate United committed Waste, Fraud, or
Abuse, or has otherwise violated the terms of its grant agreement. To the extent your public

21
   “Waste, Fraud, or Abuse” has a defined meaning in the Terms and Conditions: it incorporates
the EPA’s General Terms and Conditions and 2 C.F.R. § 200.113, see Ex. 1 at 12, 41, which in
turn require “credible evidence of the commission of a violation of Federal criminal law involving
fraud, conflict of interest, bribery, or gratuity violations found in Title 18 of the United States Code
or a violation of the civil False Claims Act 31 U.S.C. 3729-3733.” Id. at 12.
22
   Not only is there no basis to claim that Climate United has not complied with its obligations
under the terms of its grant award, but also, on February 27, 2025, the EPA cancelled an “Audit &
Oversight” workshop for GGRF grant recipients, offering no explanation. The “Audit and
Oversight” workshop scheduled for March 6, 2025 was also cancelled, and it has not been
rescheduled.
23
   EPA Lee Zeldin, supra note 1.


                                                   9
         Case 1:25-cv-00698        Document 2-9        Filed 03/10/25      Page 11 of 13


March 4, 2025
Page 10




statements expressed concern regarding grant awards made near the end of the Biden
Administration, those concerns would be irrelevant to Climate United, whose funds were
obligated in August 2024. In short, the EPA has never articulated any reasoned basis whatsoever
for its actions.

     C. Suspension or Termination of the Grant Violates Federal Appropriations Law.

In the Inflation Reduction Act, Congress appropriated $27 billion for distribution under the
Greenhouse Gas Reduction Fund. 42 U.S.C. § 7434. The EPA is legally required to spend those
funds unless it satisfies the stringent requirements for rescinding an appropriation, which it has
not done. See 2 U.S.C. § 683; Train v. City of New York, 420 U.S. 35 (1975) (holding that the
EPA violated federal law by implementing President’s directive not to spend appropriated funds
on grants as required by statute). It appears that the EPA has impounded the appropriated funds
in violation of federal law.

     D. Suspension or Termination of the Grant Violates a Recent Preliminary Injunction.

In OMB Memorandum M-25-13, the Acting Director of OMB announced that “Federal agencies
must temporarily pause all activities related to obligation or disbursement of all Federal financial
assistance, and other relevant agency activities that may be implicated by [the President’s]
executive orders, including … financial assistance for … the green new deal.”24 That
Memorandum referenced the President’s separate “Unleashing American Energy” Executive
Order, which directed agencies to “immediately pause the disbursement of funds appropriated
through the Inflation Reduction Act of 2022.”25

On February 25, 2025, in National Council of Nonprofits et al. v. OMB et al., No. 25-cv-239,
2025 WL 368852 (D.D.C.), the federal district court issued a preliminary injunction prohibiting
OMB from “implementing, giving effect to, or reinstating under a different name the unilateral,
non-individualized directives in OMB Memorandum M-25-13 with respect to the disbursement
of Federal funds under all open awards.” The injunction directs OMB to instruct federal
agencies “that they may not take any steps to implement, give effect to, or reinstate under a
different name the directives in OMB Memorandum M-25-13 with respect to the disbursement
of Federal Funds under all open awards.” Id. at *14. It further directs OMB to instruct federal
agencies “to release any disbursements on open awards that were paused due to OMB
Memorandum M-25-13.” Id.

This injunction flatly prohibits the unilateral, across-the-board funding pause that the EPA has
apparently effectuated with respect to the Greenhouse Gas Reduction Fund, and by extension,

24
   OMB, Memorandum For Heads Of Executive Departments and Agencies, at 2 (Jan. 27, 2025),
https://static01.nyt.com/newsgraphics/documenttools/da3a3829590efbb7/b0c025ff-full.pdf.
25
   Id. at 1 (citing Executive Order 14154).


                                                10
         Case 1:25-cv-00698         Document 2-9        Filed 03/10/25       Page 12 of 13


March 4, 2025
Page 11




with respect to Climate United. As such, any continued freeze or pause on the release of funds
would be in direct violation of the district court’s preliminary injunction.

   IV.     Alternatively, The EPA Should Stay Its Decision Pending Judicial Review.

As already explained, Climate United’s preferred path forward is direct communication to find
common ground. But if the EPA adheres to its decision to suspend or terminate Climate
United’s grant, it should stay its decision pending judicial review.

When assessing a motion for emergency relief from an agency action pending review, courts
consider: (1) the likelihood of success on the merits; (2) the prospect of irreparable injury to the
moving party if relief is withheld; (3) the possibility of substantial harm to other parties if relief
is granted; and (4) the public interest. See Nken v. Holder, 556 U.S. 418, 434 (2009). For the
reasons explained above, Climate United is likely to succeed in showing that the EPA’s action is
illegal.

In addition, Climate United faces immediate, irreparable harm. The NCIF award is currently the
basis of funding for all of Climate United’s operations and for all financing projects that Climate
United either has launched or is planning to launch. Even temporary inability to access its
funding immediately threatens Climate United’s operations, its ongoing and future projects, and
its long-term reputation.

Climate United does not have other committed sources of funding to replace the NCIF award.
Nor is private investment a viable replacement, because Climate United was specifically
awarded NCIF funding to “prioritize investment in qualified projects that would otherwise lack
access to financing.” 42 U.S.C. § 7434(b)(1)(B).

If Climate United cannot find another source of funding, it will shortly run out of funds to pay
operating expenses. At that point, it will no longer be able to pay its employees and will face the
risk of cutting hours and/or furloughing staff. Climate United also imminently risks not being
able to pay rent for select offices or to pay third-party contractors who perform roles such as
auditing its financial statements, maintaining its IT security and infrastructure, and providing
legal services.

Further, without a source of funding, Climate United would not be able to meet its commitments
as part of loans and awards it has already approved. To not issue these funds on the publicly
communicated timeline would erode trust in Climate United as an institution and damage its
reputation, and it would cause profound harm to its subawardees – local organizations who rely
on these funds to develop critical energy projects that increase access, reduce costs, and create
jobs. Climate United would also not be able to finance programs it has already launched,
including for example the commitment to finance energy projects in rural communities across



                                                  11
        Case 1:25-cv-00698        Document 2-9       Filed 03/10/25      Page 13 of 13


March 4, 2025
Page 12




the States of Arkansas, Oregon, and Idaho. These outcomes would cause extreme harm to
Climate United’s business and reputation that could not be repaired.

The balance of equities and the public interest favor Climate United. The EPA’s recent decision
to select Climate United for NCIF funding and disburse the grant is clear evidence that the EPA,
at least until a few weeks ago, viewed the award as consistent with the interests of the EPA; the
fact that the EPA has since changed its mind, after the agency had already disbursed the money
Congress directed it to disburse, undermines any claim to hardship. Moreover, the EPA is
prohibited from allocating any funding it claws back from Climate United for purposes other
than those contemplated under the Act. Finally, the American public has an interest in the
billions of dollars of investment in our economy and communities that Congress guaranteed
when it enacted the Inflation Reduction Act in 2022.

***

For the foregoing reasons, Climate United respectfully requests that the EPA reverse its actions
precluding Climate United from accessing its NCIF funds, including any suspension or
termination of Climate United’s grant. Alternatively, Climate United requests that the EPA stay
its decision pending judicial review.

Sincerely,

/s/ Adam G. Unikowsky

Adam G. Unikowsky




                                               12
